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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA,                       §
                                                §
                       Plaintiff,               §
v.                                              §   Criminal Action No. 3:11-CR-0152-L
                                                §
JASON ALLEN NEFF,                               §
                                                §
                       Defendant.               §

                          MEMORANDUM OPINION AND ORDER

       Before the court is Defendant’s Motion for Pretrial Notice Under Rule 404(b) of Intention

of Government to Introduce Evidence of Other Crimes, Wrongs, or Acts, filed February 11, 2013.

After careful review of the motion, response, record, and applicable law, the court denies as

requested Defendant’s Motion for Pretrial Notice Under Rule 404(b) of Intention of Government

to Introduce Evidence of Other Crimes, Wrongs, or Acts.

I.     Factual and Procedural Background

       On September 2, 2010, the United States of America (the “government’) filed a criminal

complaint against Defendant Jason Allen Neff (“Defendant” or “Neff”) in the Northern District of

Texas, alleging violations of 18 U.S.C. §§ 371 and 1512(k). Defendant was later named in a five-

count indictment that charged him with Conspiracy to Use Access Devices to Modify

Telecommunication      Instruments   and   to   Make    Unauthorized    Access    to   Protected

Telecommunications Computers (Count One), in violation of 18 U.S.C. §§ 371, 1029(a)(9),

1030(a)(5)(A)(ii) and B(iv), 1030(a)(2)(A), and 875(d); and two counts of Obstruction of Justice:

Retaliation Against a Witness, Victim, or an Informant (Counts Two and Five), in violation of 18

U.S.C. § 1513(b)(2).
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       Defendant moves this court for immediate pretrial notice of the government’s intention to

use at trial any evidence of other crimes, wrongs, or acts of Defendant under Federal Rule of

Evidence 404(b) and also requests disclosure of the identity of those persons upon which the

government intends to rely upon to demonstrate such evidence. The government responds that it

agrees to provide reasonable notice of the 404(b) evidence currently known to the government to the

defense in advance of trial, and, in the event 404(b) evidence is discovered during trial, it agrees to

notify the court and Defendant of its intent to introduce it. To the extent that Neff request exceeds

the scope of Rule 404(b), the government asks for the motion to be denied.

II.    Legal Standard

       Rule 404(b) of the Federal Rules of Evidence provides that “[e]vidence of a crime, wrong,

or other act is not admissible to prove a person’s character in order to show that on a particular

occasion the person acted in accordance with the character.” Fed. R. Evid. 404(b)(1). Such

evidence, however, “may be admissible for another purpose, such as proving motive, opportunity,

intent, preparation, plan, knowledge, identity, absence of a mistake, or lack of accident.” Fed. R.

Evid. 404(b)(2). The prosecutor must, on request of a defendant, provide reasonable notice of the

general nature of any such evidence that the prosecutor intends to introduce at trial. Fed. Rule Evid.

404(b)(2)(A) (emphasis added). Notice must be given before trial, or during trial, “if the court, for

good cause, excuses lack of pretrial notice.” Fed. R. Evid. 404(b)(2)(B).

III.   Analysis

       Rule 404(b) does not require the government, at the request of a defendant, to provide

immediate notice of any 404(b) evidence it intends to introduce at trial; it only requires reasonable




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notice. Moreover, Rule 404(b) does not require the government to identify the witnesses upon which

it intends to rely on to introduce such evidence at trial. The government does not oppose giving

Defendant reasonable notice of the general nature of 404(b) evidence it intends to offer into evidence

at trial, as Rule 404(b)(2)(B) requires it to do. Thus, to the extent that Defendant’s motion requests

immediate disclosure of any 404(b) evidence and the specific identity of those persons the

government will rely on to introduce such evidence, his motion is denied. To ensure that Defendant

is afforded a reasonable notice of the government’s intention to introduce 404(b) evidence, however,

the court orders the government to provide Defendant notice of the general nature of such evidence

no later than fourteen (14) days before trial.

         The court has not seen the evidence that may be introduced and is unable to determine

whether it falls within the parameters of 404(b) or is intrinsic evidence. The court may have to hold

a hearing outside the presence of the jury to determine whether the evidence meets the requirements

of 404(b) or falls within the definition of intrinsic evidence. If the evidence offered does not meet

the requisite tests, it will be excluded.*

         It is so ordered this 4th day of March, 2013.



                                                                _________________________________
                                                                Sam A. Lindsay
                                                                United States District Judge




         *
          The court notes that Defendant cites cases from the Second Circuit and the Southern District of New York.
This authority is not binding on the court, and Defendant should cite cases from the Fifth Circuit or Supreme Court.
Unless there is no case authority from the Fifth Circuit or Supreme Court on the point he seeks to make, the court will
ignore any cited authority that is not binding on it.


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